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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

  HAYLIE SCIOLI,

       Plaintiff,                                      CASE NO.:

  v.

  OCWEN LOAN SERVICING, LLC,

       Defendant.
                                         /

                         COMPLAINT AND DEMAND FOR JURY TRIAL

             COMES NOW Plaintiff, Haylie Scioli, by and through the undersigned counsel, and sues

  Defendant, OCWEN LOAN SERVICING, LLC, and in support thereof respectfully alleges

  violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the

  Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

                                             INTRODUCTION

             1.     The TCPA was enacted to prevent companies like OCWEN LOAN SERVICING,

  LLC from invading American citizen’s privacy and prevent abusive “robo-calls.”

             2.     “The TCPA is designed to protect individual consumers from receiving intrusive

  and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,

  L.Ed. 2d 881 (2012).

             3.     “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

  modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

  force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

  wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone



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  subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

  Bank, F.S.B., 746 F. 3d 1242 1256 (11th Cir. 2014).

         4.      According to the Federal Communications Commission (FCC), “Unwanted calls

  and texts are the number one complaint to the FCC. There are thousands of complaints to the

  FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

  TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

  Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

  (May 27, 2015), http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

  333676A1.pdf.

                                   JURISDICTION AND VENUE

         5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

  ($75,000.00) exclusive of attorney fees and costs.

         6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

  28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

         7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

  action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

  shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

  of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

  Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

  746 F.3d 1242, 1249 (11th Cir. 2014)

         8.      The current principal place of business of Defendant is in Palm Beach County,

  Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(1) as it is

  the judicial district in which Defendant resides.


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                                        FACTUAL ALLEGATIONS

         9.      Plaintiff is a natural person, and citizen of the State of Pennsylvania, residing in

  Montgomery County, Pennsylvania.

         10.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

         11.     Plaintiff is an “alleged debtor.”

         12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

  1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

         13.     Defendant is a corporation which was formed in Delaware with its principal place

  of business located at 1661 Worthington Road #100, West Palm Beach, Florida 33409 and which

  conducts business in the State of Florida through its registered agent, CT Corporation Service

  Company located at 1201 Hays Street, Tallahassee, Florida 32301.

         14.     The debt that is the subject matter of this Complaint is a “consumer debt” as

  defined by Florida Statute §559.55(6).

         15.     Defendant is a “creditor” as defined in Florida Statute §559.55(5)

         16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately two-

  thousand (2,000) times in an attempt to collect a debt. Due to the amount of calls, Plaintiff was

  unable to adequately catalogue each call and thus an accurate number of calls will be determined

  after a thorough review of Defendant’s records.

         17.     Defendant attempted to collect an alleged debt from Plaintiff by this campaign of

  telephone calls.

         18.     Upon information and belief, some or all of the calls the Defendant made to

  Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”

  which has the capacity to store or produce telephone numbers to be called, using a random or


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  sequential number generator (including but not limited to a predictive dialer) or an artificial or

  prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

  “autodialer calls”). Plaintiff will testify that she knew it was an autodialer because of the vast

  number of calls she received and because, when she answered her cellular telephone, she heard a

  pause before a live agent would come on the line.

         19.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

  number (610) ***-1208, and was the called party and recipient of Defendant’s calls.

         20.     Defendant placed an exorbitant number of automated telephone calls to Plaintiff’s

  cellular telephone (610) ***-1208 in an attempt to collect an alleged debt.

         21.     On several occasions since the Defendant’s campaign of calls began, Plaintiff

  instructed Defendant’s agent(s) to stop calling her cellular telephone.

         22.     In or about 2011, Plaintiff communicated with Defendant’s agent from her

  cellular telephone number, and was eventually connected to a live representative of Defendant.

  Plaintiff explained her changing occupation and degradation of health to the agent. Plaintiff

  further explained her financial situation but stressed to the agent that she has always made her

  payments. Plaintiff then demanded once again Defendant’s agent/representative to stop calling

  her cellular telephone number.

         23.     Each subsequent call Defendant made to Plaintiff’s aforementioned cellular

  telephone number was done so without the “express consent” of the Plaintiff.

         24.     Despite clearly and unequivocally revoking any consent Defendant may have

  believed they had to call Plaintiff on her cellular telephone, Defendant continues to place

  automated calls to Plaintiff.

         25.     Plaintiff’s numerous requests for the harassment to end were ignored.


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          26.     Defendant has a corporate policy to use an automatic telephone dialing system or

  a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s cellular telephone in

  this case.

          27.     Defendant has a corporate policy to use an automatic telephone dialing system or

  a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in this case, with no

  way for the consumer, Plaintiff, or Defendant, to remove the number.

          28.     Defendant’s corporate policy is structured so as to continue to call individuals like

  Plaintiff; despite these individuals explaining to Defendant they wish for the calls to stop.

          29.     Defendant has numerous other federal lawsuits pending against it alleging similar

  violations as stated in this Complaint.

          30.     Defendant has numerous complaints across the country against it asserting that its

  automatic telephone dialing system continues to call despite requests by consumers to stop.

          31.     Defendant has had numerous complaints from consumers across the country

  against it asking to not be called; however, Defendant continues to call the consumers.

          32.     Defendant’s corporate policy provided no means for Plaintiff to have her number

  removed from Defendant’s call list.

          33.     Defendant has a corporate policy to harass and abuse individuals despite actual

  knowledge the called parties do not wish to be called.

          34.     Not a single call placed by Defendant to Plaintiff were placed for “emergency

  purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

          35.     Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.




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         36.     From each and every call placed without consent by Defendant to Plaintiff’s

  cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her

  right of seclusion.

         37.     From each and every call without express consent placed by Defendant to

  Plaintiff’s cellular telephone, Plaintiff suffered the injury of occupation of her cellular telephone

  line and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate

  callers or outgoing calls while the telephone was ringing from Defendant’s calls.

         38.     From each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of her time.

  For calls she answered, the time she spent on the call was unnecessary as she repeatedly asked

  for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the

  telephone and deal with missed call notifications and call logs that reflected the unwanted calls.

  This also impaired the usefulness of these features of Plaintiff’s cellular telephone, which are

  designed to inform the user of important missed communications.

         39.     Each and every call placed without express consent by Defendant to Plaintiff’s

  cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls

  that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

  unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call

  notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

  these features of Plaintiff’s cellular telephone, which are designed to inform the user of

  important missed communications.




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          40.     Each and every call placed without express consent by Defendant to Plaintiff’s

  cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff’s cellular

  telephone’s battery power.

          41.     Each and every call placed without express consent by Defendant to Plaintiff’s

  cellular telephone where a voice message was left which occupied space in Plaintiff’s telephone

  or network.

          42.     Each and every call placed without express consent by Defendant to Plaintiff’s

  cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel, namely her cellular

  telephone and her cellular telephone services.

          43.     As a result of the calls described above, Plaintiff suffered an invasion of privacy,

  as well as stress, anxiety, and depression.

          44.     Plaintiff informed Defendant of her health issues on many occasions, specifically

  her struggle with multiple sclerosis and advised that the stress she was experiencing from the

  harassing phone calls was worsening her condition. Despite having such information, Defendant

  continued to call Plaintiff’s cell number.

                                              COUNT I
                                       (Violation of the TCPA)

          45.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-four

  (44) as if fully set forth herein.

          46.     Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff,

  especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

  notified Defendant that she wished for the calls to stop.

          47.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

  telephone using an automatic telephone dialing system or prerecorded or artificial voice without

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  Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

  227(b)(1)(A)(iii).

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against OCWEN LOAN SERVICING, LLC for statutory damages, punitive damages,

  actual damages, treble damages, enjoinder from further violations of these parts and any other

  such relief the court may deem just and proper.

                                              COUNT II
                                      (Violation of the FCCPA)

          48.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-four

  (44) as if fully set forth herein

          49.     At all times relevant to this action Defendant is subject to and must abide by the

  laws of the State of Florida, including Florida Statute § 559.72.

          50.     Defendant has violated Florida Statute § 559.72(7) by willfully communicating

  with the debtor or any member of his or her family with such frequency as can reasonably be

  expected to harass the debtor or his or her family.

          51.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other

  conduct which can reasonably be expected to abuse or harass the debtor or any member of his or

  her family.

          52.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

  continuous sustaining of damages as described by Florida Statute § 559.77.

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against OCWEN LOAN SERVICING, LLC for statutory damages, punitive damages,

  actual damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

  any other such relief the court may deem just and proper.

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  Respectfully submitted,

                                    /s/ Octavio Gomez
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